Case 25-90138 Document 25-18 Filed in TXSB on 06/02/25 Page 1 of 3




                            EXHIBIT 18
   Case
    Case2:18-cv-04111-ILRL-JCW
          25-90138 Document 25-18
                                Document
                                   Filed in 32
                                            TXSBFiled
                                                 on 06/02/25
                                                      07/24/18 Page
                                                                 Page
                                                                    2 of
                                                                      1 of
                                                                         3 2



                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

PSARA ENERGY, LTD.                                           CIVIL ACTION

VERSUS                                                       NO. 18-4111

SPACE SHIPPING, LTD., ET AL                                  SECTION "B"(2)

                             ORDER AND REASONS

     A Rule   E(4)(f) hearing was held on Wednesday, May 16, 2018,

with counsel for the parties, Plaintiff Psara Energy and Defendant

Advantage Start Shipping. The Court found Plaintiff’s valuations

in the newly submitted evidence to be excessive. Pursuant to oral

reasons given in open court, including that mentioned above, the

Court ordered (Rec. Doc. 25) additional security for fair valuation

of Plaintiff’s claim in the amount of $800,000.00. The Court found

said amount sufficient to cover reasonable towage costs that was

previously    unavailable      when    fair    value    computations      were

originally made in related proceedings in the Eastern District of

Texas. The parties were further directed to submit memoranda

regarding the propriety of transferring this action to the Eastern

District of Texas, or staying this action pending resolution of

the underlying arbitration proceedings in London, England. Rec.

Doc. 30. The Court has reviewed the Parties memoranda submitted on

the issue of transfer. Rec. Docs. 28 and 29.

     28 U.S.C. § 1404(a) provides that:

     (a) For the convenience of parties and witnesses, in the
     interest of justice, a district court may transfer any
     civil action to any other district or division where it
                                      1
   Case
    Case2:18-cv-04111-ILRL-JCW
          25-90138 Document 25-18
                                Document
                                   Filed in 32
                                            TXSBFiled
                                                 on 06/02/25
                                                      07/24/18 Page
                                                                 Page
                                                                    3 of
                                                                      2 of
                                                                         3 2


     might have been brought or to any district or division
     to which all parties have consented.

28 U.S.C. § 1404. After consideration of the record in this case

transfer    is   appropriate    for    the   convenience    of   all    parties

involved.

     The instant action was filed by Plaintiff for the attachment

and garnishment for the attachment of Defendant’s vessel, the MT

ADVANTAGE    START.   Rec.   Doc.     28.    Plaintiff   filed   said    action

simultaneous to an identical claim in the Eastern District of Texas

for the attachment of Defendant’s vessel the MT ADVANTAGE ARROW.

Id. As a result, where the district court in the Eastern District

of Texas has made substantial progress and findings in an identical

claim, the interests of justice and convenience of all parties

involved permit transfer of this action to the Eastern District of

Texas. Both Parties and the Court agree with transfer. Accordingly,

            IT IS ORDERED that Plaintiff’s claims in the above-

captioned action are hereby TRANSFERRED to the Eastern District of

Texas, Beaumont Division, pursuant to 28 U.S.C. § 1404(a).


     New Orleans, Louisiana, this 23rd day of July, 2018.




                                      ___________________________________
                                      SENIOR UNITED STATES DISTRICT JUDGE




                                        2
